






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00722-CV






Joe S. Griffith, Appellant


v.


Marie Yvonne Case, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-FM-05-006530, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N




		Appellant Joe S. Griffith appeals from the "Final Decree of Divorce" between Marie
Yvonne Case and Joe S. Griffith, signed by the trial court on October 24, 2006.  After this appeal
was perfected, the parties filed cross-motions for temporary orders pending appeal.  In their cross-motions, Griffith and Appellee Marie Yvonne Case sought temporary orders requiring the other party
to pay reasonable attorney's fees and expenses as well as temporary spousal support pending appeal. 
On December 20, 2006, the trial court held a hearing on the parties' cross-motions and signed an
order requiring Griffith to pay $18,000 into the registry of the Court.  See Tex. Fam. Code Ann.
§&nbsp;6.709(a)(1)-(2) (West 2006).

		To date, Griffith has not complied with the trial court's order, and Case has now filed
a motion to dismiss the instant appeal or, in the alternative, to abate the appeal for up to 14 days so
that Griffith may comply with the trial court's order and deposit $18,000 into the registry of the
court.  After reviewing the motion and the response thereto, we overrule Case's motion to dismiss
and, in the alternative, abate this appeal for 14 days until April 19, 2007, to allow Griffith to comply
with the trial court's order and to pay $18,000 into the registry of the court.  If by that date, Griffith
has failed to comply with the trial court's order and has not paid $18,000 into the registry of the
court, this case will be dismissed.  See Tex. R. App. P. 42.3(c).



						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Abated

Filed:   April 5, 2007


